Case 1:24-cv-00001 Document 121 Filed on 05/03/24 in TXSD Page 1 of 3

United States Courts
Southern District of Texas

FILED my
May 03,2024 Cnited States Court of Appeals
Nathan Ochsner, Clerk of Court r , : United States Court of Appeals
or the Pitth Circuit rth Ceut
b s b FILED
May 3, 2024
No. 24-40315 Lyle W. Cayce
Clerk

SPACE EXPLORATION TECHNOLOGIES, CORPORATION,

Plaintiff—Appellant,
YErSUS

NATIONAL LABOR RELATIONS BOARD, A FEDERAL
ADMINISTRATIVE AGENCY; JENNIFER ABRUZZO, i her official
capacity as the General Counsel of the National Labor Relations Board;
LAUREN M. MCFERRAN, i her official capacity as the Chairman of the
National Labor Relations Board; MARVIN E. KAPLAN, in his official
capacity as a Board Member of the National Labor Relations Board; GWYNNE
A. WILCOX, i her official capacity as a Board Member of the National Labor
Relations Board; DAVID M. PRouty, in his official capacity as a Board
Member of the National Labor Relations Board; JOHN DOE, in his official
capacity as an Administrative Law Judge of the National Labor Relations

Board,

Defendants — Appellees.

Appeal from the United States District Court
for the Southern District of Texas
USDC No. 1:24-CV-1

UNPUBLISHED ORDER

Before SMITH, STEWART, and OLDHAM, Circuit Judges.
Case 1:24-cv-00001 Document 121 Filed on 05/03/24 in TXSD Page 2 of 3
No. 24-40315

PER CURIAM:

IT IS ORDERED that Appellees’ opposed motion to dismiss the
appeal for lack of jurisdiction is DENIED.

IT IS FURTHER ORDERED that Appellees’ opposed motion to
expedite the ruling on the motion to dismiss appeal is GRANTED.
Case 1:24-cv-00001 Document 121 Filed on 05/03/24 in TXSD_ Page 3 of 3

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,

Suite 115
NEW ORLEANS, LA 70130

May 03, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
No. 24-40315 Space Exploration Tech v. NLRB
USDC No. 1:24-CV-1

Enclosed is an order entered in this case.

Sincerely,

LYLE W. CAYCE, Clerk

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By:
Rebecca L. Leto, Deputy Clerk
504-310-7703

Mr. David Paul Boehm

Ms. Catherine Lynn Eschbach
Mr. Harry Isaac Johnson III
Mr. Michael E. Kenneally
Mr. Benjamin Storey Lyles
Mr. Nathan Ochsner

Ms. Amanda Leigh Salz

Mr. Paul A. Thomas
